Case 22-50430-wlh            Doc 23       Filed 04/11/22 Entered 04/11/22 18:34:14                          Desc Main
                                          Document      Page 1 of 7


                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

   IN RE:                                               } CASE NUMBER 22-50430-WLH
                                                        }
   Bianca Ariana Chavez                                 } CHAPTER 13
                                                        }
                   DEBTOR                               }
             --------------------------------------------------------------------------------------------
   Bianca Ariana Chavez                                 }
                                                         }
                     MOVANT                              }   CONTESTED MATTER
                                                         }
   v.                                                    }
                                                         }
   INTERNAL REVENUE SERVICE                              }
              RESPONDENT                                 }

    NOTICE OF HEARING OF OBJECTION TO CLAIM OF THE INTERNAL REVENUE
                SERVICE, DEADLINE TO OBJECT AND HEARING

             Bianca Ariana Chavez, Debtor has filed an Objection to Claim of the Internal Revenue
   Service on April 11, 2022. Pursuant to Second Amended and Restated General Order No. 24-
   2018, the Court may consider this matter without further notice or a hearing if no party in interest
   files a response or objection within 21 days from the date of service of this notice. If you object
   to the relief requested in this pleading you must timely file your objection with the
   Bankruptcy Clerk at U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta
   Georgia 30303, and serve a copy on the movant’s attorney, Saedi Law Group, LLC, 3006
   Clairmont Road, Ste 103, Atlanta, Georgia 30329, and any other appropriate persons by the
   objection deadline. The response or objection must explain your position and be actually received
   by the Bankruptcy Clerk within the required time.

             A hearing on the pleading has been scheduled for May 25, 2022. The Court will hold an
   initial telephonic hearing for announcements on the Objection to Claim of the Internal Revenue
   Service at the following number: 833-568-8864; Meeting ID: 161 202 1574 at 10:20AM on May
   25, 2022 in Courtroom 1403, located at the United States Courthouse, 75 Ted Turner Drive, S.W.,
   Atlanta, GA 30303.

           Matters that need to be heard further by the Court may be heard by telephone, by video
   conference, or in person, either on the date set forth above or on some other day, all as
   determined by the Court in connection with this initial telephonic hearing. Please review the
   “Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
   Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
   www.ganb.uscourts.gov for more information.

          If an objection or a response is timely filed and served, the hearing will proceed as
   scheduled. If you do not file a response or objection within the time permitted, the Court
   may grant the relief requested without further notice of hearing provided that an order
   approving the relief requested is entered at least one business day prior to the scheduled hearing.
Case 22-50430-wlh         Doc 23      Filed 04/11/22 Entered 04/11/22 18:34:14                   Desc Main
                                      Document      Page 2 of 7


   If no objection is timely filed, but no order is entered granting the relief requested at least one
   business day prior to the hearing, the hearing will be held as scheduled.

          Your rights may be affected. You should read these pleadings carefully and discuss
   them with your attorney, if you have one in this bankruptcy case. (If you do not have an
   attorney, you may wish to consult one.)

   Dated: Monday, April 11, 2022
   Saedi Law Group, LLC
   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com
Case 22-50430-wlh            Doc 23       Filed 04/11/22 Entered 04/11/22 18:34:14                          Desc Main
                                          Document      Page 3 of 7


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                               NORTHERN DISTRICT OF GEORGIA
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   IN RE:                                               } CASE NUMBER 22-50430-WLH
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   v.                                                    }
                                                         }
   INTERNAL REVENUE SERVICE                              }
              RESPONDENT                                 }

        OBJECTION TO CLAIM OF THE INTERNAL REVENUE SERVICE, CLAIM # 6

             COMES NOW, Debtor and hereby moves this Court to amend Respondent’s claim in this
   Chapter 13 Case, and shows the Court as follows:
                                                             1.
             This case was commenced by the filing of a Voluntary Petition for relief in Bankruptcy
   under Chapter 13 of Title 11 of the United States Code on January 17, 2022
                                                             2.
            Respondent filed a proof of claim in this case in the amount of $ 7,174.18. The unsecured
   priority portion of this claim is $7,174.18. The Respondent filed the claim stating the Debtor’s
   2018, 2020 and 2021 tax returns are unassessed. Based on the Debtor’s tax returns, the Debtor’s
   tax liability is $5,371.00. THEREFORE, the claimed amount does not accurately reflect the
   amount owed to the Respondent.


             WHEREFORE, DEBTOR respectfully requests a hearing to determine the actual amount
   owed to Respondent and, in the event that it is determined that no amount is owed, to disallow the
   claim.

   Respectfully submitted,

   Saedi Law Group, LLC
   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
Case 22-50430-wlh       Doc 23     Filed 04/11/22 Entered 04/11/22 18:34:14   Desc Main
                                   Document      Page 4 of 7


   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com

   Dated: Monday, April 11, 2022
Case 22-50430-wlh            Doc 23       Filed 04/11/22 Entered 04/11/22 18:34:14                          Desc Main
                                          Document      Page 5 of 7


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   IN RE:                                               } CASE NUMBER 22-50430-WLH
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   Bianca Ariana Chavez                                 }
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                                                         }
   v.                                                    }
                                                         }
   INTERNAL REVENUE SERVICE                              }
              RESPONDENT                                 }

                                        CERTIFICATE OF SERVICE

   The undersigned hereby swears or affirms under penalty of perjury that I am over the age of 18
   and that on Monday, April 11, 2022, I served a copy of the Objection to Proof of Claim, together
   with a copy of the foregoing Notice, by first class U.S. Mail, with adequate postage prepaid, on
   the following persons or entities at the addresses stated:


   Nancy J. Whaley
   Chapter 13 Trustee
   303 Peachtree Center Ave., Suite 120
   Atlanta, GA 30303
   Served via ECF

   Bianca Ariana Chavez
   925 Canterbury Rd. NE
   Apt. 905
   Atlanta, GA 30324

   Neeli Ben-David
   Assistant United States Attorney
   Office of the United States Attorney
   Northern District of Georgia
   600 U.S. Courthouse
   75 Ted Turner Drive, SW, Suite 600
   Atlanta, Georgia 30303

   Charlie Cromwell
   Contract Paralegal Specialist
   Office of the United States Attorney
   Northern District of Georgia
Case 22-50430-wlh        Doc 23    Filed 04/11/22 Entered 04/11/22 18:34:14   Desc Main
                                   Document      Page 6 of 7


   600 U.S. Courthouse
   75 Ted Turner Drive, SW, Suite 600
   Atlanta, Georgia 30303

   Internal Revenue Service
   ATTN: Natalyn Jones
   401 West Peachtree Street, NW M/S 334-D
   Atlanta, GA 30308

   Internal Revenue Service
   ATTN: Priscilla Orr
   Centralized Insolvency Operations
   401 West Peachtree Street, NW M/S 334-D
   Atlanta, GA 30308


   U.S. Department of Justice
   ATTN: United States Attorney General, Merrick Garland
   950 Pennsylvania Avenue, NW
   Washington, DC 20530-0001

   Office of Chief Counsel
   Room 1400 Stop 1000-D
   401 West Peachtree Street, NW
   Atlanta, GA 30308

   Internal Revenue Service
   Central Insolvency Office
   P.O. Box 7346
   Philadelphia, PA 19101

   Kurt R. Erskine, United States Attorney
   Northern District of Georgia
   Civil Division, Attn: Civil Clerk
   600 Richard B. Russell Federal Building
   75 Ted Turner Drive, S.W.
   Atlanta, GA 30303

   Department of Justice - Tax Division
   Civil Trial Section, Southern Region
   P.O. Box 14198
   Ben Franklin Station
   Washington, D.C. 20044

   Internal Revenue Service
   District Counsel
   PO Box 901
   Stop 1000-D
   Atlanta, GA 30370
Case 22-50430-wlh       Doc 23     Filed 04/11/22 Entered 04/11/22 18:34:14   Desc Main
                                   Document      Page 7 of 7


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   ______________/s/_______________
   Lorena L. Saedi 622072, Attorney for Debtor
   3006 Clairmont Road
   Suite 103
   Atlanta, Georgia 30329
   Phone: (404) 889-8663
   Fax: (888) 850-1774
   Lsaedi@SaediLawGroup.com

   Dated: Monday, April 11, 2022
